Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 1 of 11 Page ID #:13




                        EXHIBIT A
 DEFENDANTS VANTAGE TRAVEL SERVICE, INC. AND INSPERITY PEO
SERVICES, L.P.’S NOTICE OF REMOVAL OF ACTION FROM STATE COURT
  TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
        Case 2:21-cv-02667-JFW-JC Document  1-1 Filed 03/26/21 Page 2 of 11 Page ID #:14
                                        21STCV05726
                                        21 STCV05726
                                                                    Mosk Courthouse, Judicial Officer: Robert Draper
                              Assigned for all purposes to: Stanley Mask


Electronically FILED )y
                      y Superior Court of California, County of Los Angeles on 02/16/2021 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Cler
                                                                                                                                                                          Clerk


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                5       Attorneys for Plaintiff

                6

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                8                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                9                                                         COUNTY OF LOS ANGELES

              10        LAUREN GOLDENBERG                                                                CASE NO. 21
                                                                                                                  2 1 STC'-1'05726
                                                                                                                      ST CV 05726

              11                                           Plaintiff,
                                                           Plaintiff,                                    COMPLAINT FOR DAMAGES:
                                   v.
              12                                                                                         1.         VIOLATION OF FEHA:
                        VANTAGE TRAVEL SERVICES, INC.;                                                              DISABILITY
              13        INSPERITY, INC.; and DOES 1-
                                                  1­                                                                DISCRIMINATION
                        100,                                                                             2.•
                                                                                                         2          WRONGFUL TERMINATION
              14                                                                                         3.         VIOL. OF LABOR CODE§
                                                                                                                                   CODE §
                                                           Defendants.                                              1102.5
              15                                                                                         4.         INTL. INFL. OF EM. DIST.
                                                                                                         5.         NEGL. INFL. OF EM. DIST.
              16
                                                                                                         DEMAND FOR JURY TRIAL
              17

              18                    Summary. Action for wrongful termination, failure to

              19        accommodate, failure to engage, discrimination, retaliation and

              20        related claims. Plaintiff commenced employment with defendants

              21        on May 6, 2019. Shortly thereafter, plaintiff was diagnosed with

              22        Chronic Regional Pain Syndrome                                           ("CRPS"). It was agreed that

              23        plaintiff would work remotely from her home through the end of
              24        July. On July 15, 2019, plaintiff provided a medical

              25        authorization requesting an additional seven (7) business days

              26        of work from home. Defendants refused to accommodate and instead

              27        summarily terminated plaintiff's employment.

              28        I/ I/ I/
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                                                                                       COMPLAINT
                       complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 3 of 11 Page ID #:15



   1             Plaintiff alleges, based on personal knowledge and/or

   2     information and belief:

   3                                   IDENTIFICATION OF PARTIES

   4             1.       Plaintiff.     Plaintiff Lauren Goldenberg ("plaintiff")

   5     is an individual residing in Los Angeles County, California.

    6            2.       Named defendants. On information and belief, named
   7     entity defendants Vantage Travel Services, Inc. aka Vantage

    8    Deluxe World Travel, and Insperity,           Inc., aka Insperity, aka

    9    Insperity HR Solutions,           (collectively "Entity Defendants"), are

  10    business entity(ies), believed to be corporations and/or limited

  11     liability companies, which are           (and/or whose members are)

  12     incorporated, headquartered and/or doing business principally in

  13     California.

  14             3.       Doe defendants. Defendants Doe 1-100 are named

  15     fictitiously.          Plaintiff will amend to plead the names of such

  16     defendants when known.

  17             4.       Relationship of defendants.     Each defendant was

  18     responsible for the events and damages alleged herein,

  19     including, without limitation, on at least one of the following

  20     bases:

  21                      a.   Committing the acts alleged; and/or

  22                      b.   Alternatively, at all relevant times, one or more

  23     of the defendant(s) was the agent or employee, and/or acted

  24     under the control or supervision of, one or more of the

  25     remaining defendants, and in doing the acts alleged, acted

  26    within the course and scope of such agency and employment,

  27     and/or otherwise liable for plaintiff's damages; and/or

  28                      c.   Alternatively, at all relevant times there
                                                  2
                                              COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 4 of 11 Page ID #:16



   1     existed, a unity of ownership and interest between two or more

   2     of the defendants, and/or defendants exercised domination and

   3     control over one another, such that any individuality and

   4     separateness between said defendants has ceased, and defendants

   5     are the alter ego(s) of one another, and adherence to the

    6    fiction of separate existence of the defendants would permit

   7     abuse of the corporate privilege and would sanction fraud and

    8   promote injustice; and/or

    9                     d.   Alternatively, one or more defendant(s) and/or

  10     their subsidiaries/related entities and/or their respective

  11     agents/employees, was/were liable for the conduct alleged below

  12     under the doctrines of employer, joint employer,

  13     principal/agent, integrated enterprise, co-employer, partnership

  14     and/or other applicable legal rule(s) or doctrine(s). As such,

  15     such persons/entities are jointly and severally liable, with

  16     attendant obligations and responsibilities to plaintiff.

  17             5.       "Defendant." The named defendant(s) and Doe defendants

  18     are sometimes hereafter referred to (collectively and/or

  19     individually) as "defendant" or "defendant(s)" or "defendants."

  20                           FACTS COMMON TO ALL CAUSES OF ACTION

  21             6.       Plaintiff's hire. Plaintiff commenced her employment

  22    with defendant (Vantage and Insperity) on about May 6, 2019.

  23             7.       Plaintiff's injury/disability. On or about May 24,

  24     2019, plaintiff was diagnosed with Chronic Regional Pain

  25     Syndrome        ("CRPS")   a serious and painful medical condition, which

  26     limits the patient's mobility, and which requires treatment and

  27     accommodation including, in this instance, plaintiff working

  28     remotely from her home. In or about mid-June, 2019, it was
                                                 3
                                             COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 5 of 11 Page ID #:17



   1    mutually agreed, among other things, that Plaintiff could work

   2     remotely through the end of July, 2019.

   3             8.       Defendant's adverse reaction      (termination). On or

   4     about July 15, 2019, plaintiff sent defendant an updated medical

   5     note, dated July 11, 2019, certifying that she would be

    6   medically cleared to return without restrictions as of August

   7     11, 2019; however, as it would be very difficult to travel prior

    8    to that time, she would request to continue to work remotely for

    9    approximately an additional 7           (seven) business days:
                                                                  days: through

  10    August 11, 2019. Unfortunately, rather than accommodate

  11     plaintiff's disability, and rather than engaging in a timely

  12     good faith meet and confer process, defendant immediately

  13     simultaneously failed and refused to accommodate, and summarily

  14     terminated Plaintiff's employment, as confirmed a few times,

  15     including, inter alia, in an email dated August 1, 2019.

  16             9.       Economic damages.    As a consequence of defendant's

  17     conduct, plaintiff has suffered and will suffer harm, including,

  18    without limitation, lost past and future income and employment

  19    benefits; and damage to career, in a sum to be proven at trial.

  20             10.      Non-Economic damages.       As a consequence of defendant's
  21     conduct, plaintiff has suffered and will suffer psychological

  22     and emotional distress, in a sum to be proven at trial.

  23             11.      Punitive damages.    Defendant's conduct constitutes

  24     oppression, fraud or malice under California Civil Code Section

  25     3294, so as to entitle plaintiff to an award of exemplary/

  26                       including:
         punitive damages, including:

  27                      a.   Malice.   Defendant's conduct was done with malice

  28    within the meaning of California Civil Code Section 3294,
                                                  4
                                              COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 6 of 11 Page ID #:18



   1     including that        (a) defendant acted with intent to cause injury

   2     to plaintiff, and/or acted with reckless disregard toward

   3    plaintiff's injury, including by terminating and/or taking other
   4     adverse job action against plaintiff based on plaintiff's

   5     physical disability, need (and request)         for accommodation,

    6    and/or good faith complaints; and/or (b) defendant's conduct was

   7     despicable, with willful and conscious disregard of plaintiff's

    8    rights, health and safety, including plaintiff's right to be

    9    free of discrimination, failure to accommodate or interact,

  10     harassment, retaliation, and wrongful termination.

  11                      b.   Oppression.   In addition, and/or alternatively,
                                             In
  12     defendant's conduct was done with oppression within the meaning

  13     of California Civil Code Section 3294, including that

  14     defendant's actions against plaintiff based on plaintiff's

  15     physical disability, need (and request)         for accommodation,

  16     and/or good faith complaints, was "despicable"
                                           "despicable" and subjected

  17     plaintiff to cruel and unjust hardship, in knowing disregard of

  18     plaintiff's rights to a workplace free of discrimination,

  19     failure to accommodate or interact, harassment, retaliation and

  20    wrongful termination.

  21                      c.   Fraud.   In addition, and/or alternatively,
                                        In

  22     defendant's conduct, as alleged, was fraudulent within the

  23    meaning of California Civil Code Section 3294, including that

  24     defendant asserted false         (pretextual) grounds for termination

  25     and/or other adverse job action(s), to thereby harm plaintiff

  26     and deprive plaintiff of legal rights.

  27             12.      Exhaustion of administrative remedies.   Prior to

  28     filing this action, plaintiff timely exhausted administrative
                                                 5
                                             COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 7 of 11 Page ID #:19



   1     remedies, by timely filing an administrative complaint with the

   2     Department of Fair Employment and Housing ("DFEH") and receiving

   3     a DFEH right to sue letter dated October 27, 2020.

   4                                 FIRST CAUSE OF ACTION

   5                Violation of FEHA, Cal. Govt. Code§§
                                                  Code §§ 12900 et seq.
    6                                Against All Defendants

   7             13.      Paragraphs 1-12 are incorporated.

    8            14.      Plaintiff's physical, need (and request) for

    9    reasonable accommodation, taking leave, attempting to and/or

  10     exercising rights under Cal. Govt. Code§§
                                            Code §§ 12900 et seq.,
  11     ("FEHA"), good faith complaints, and/or other characteristic(s)

  12     protected by the FEHA, were motivating factors in defendant's

  13     decision to terminate plaintiff, to not retain, hire or

  14     otherwise employ plaintiff in any position, refusal to

  15     accommodate plaintiff, and/or taking other adverse job action(s)

  16     against plaintiff.

  17             15.      Defendant's conduct, as alleged, violated FEHA, and

  18     defendant committed unlawful employment practice(s) as defined

  19     therein, including, without limitation, by the following,

  20     separate bases for liability:
                            liability:
  21                      a.   Terminating, barring, discharging, refusing to

  22                           transfer, retain, hire, select, and/or employ;
                                                                      employ;

  23                           and/or otherwise discriminating against

  24                           plaintiff, based, in whole or in part, on

  25                           physical disability, need (and request)   for

  26                           reasonable accommodation, taking leave,

  27                           attempting to and/or exercising rights under

  28                           FEHA, good faith complaints, and/or other
                                               6
                                           COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 8 of 11 Page ID #:20



   1                           characteristic(s) protected by the FEHA, in

   2                           violation of Cal. Govt. Code§
                                                       Code § 12940(a).
   3                      b.   Failing to accommodate plaintiff's physical

   4                           disability, in violation of Cal. Govt. Code§
                                                                      Code §
   5                           12940(m).

    6                     c.   Failing to engage in a timely, good faith

   7                           interactive process to determine reasonable

    8                          accommodation, in violation of Cal. Govt. Code§
                                                                         Code §

    9                          12940(n).

  10                      d.   Harassing plaintiff and/or creating a hostile

  11                           work environment, based, in whole or in part, on

  12                           plaintiff's physical disability, and/or other

  13                           protected characteristic(s), in violation of Cal.
  14                           Govt. Code§
                                     Code § 12940(j).
  15                      e.   Failing to take all reasonable steps to prevent

  16                           discrimination and harassment based on physical

  17                           disability, and/or other protected

  18                           characteristic(s), in violation of Cal. Govt.

  19                           Code§
                               Code § 12940(k).
                                      12 940(k).

  20                      f.   Retaliating against plaintiff for seeking to

  21                           exercise rights guaranteed under the FEHA and/or

  22                           opposing defendant's failure to provide such

  23                           rights, including, without limitation, rights of

  24                           reasonable accommodation, interactive process,

  25                           leave rights, and/or freedom from discrimination,

  26                           in violation of Cal. Govt. Code§
                                                          Code § 12940(h).
  27                      g.   Failing to provide plaintiff with requisite

  28                           statutory leave;
                                         leave; violating notice and/or other
                                                   7
                                            COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 9 of 11 Page ID #:21



   1                            procedural requisites of leave; and/or
   2                            retaliating against plaintiff for taking leave,

   3                            in violation of Cal. Govt. Code§
                                                           Code § 12945.2.
   4                                  SECOND CAUSE OF ACTION

   5                 Wrongful Termination in Violation of Public Policy

    6                         Against Entity Defendants and Does 1-50

   7             16.      Paragraphs 1-15 are incorporated.

    8            17.      Public policy of the State of California (as evinced,

    9    inter alia, in the FEHA) prohibits job discrimination on the

  10     basis of an employee's physical disability, need (and request)

  11     for accommodation, age, and/or good faith complaints.

  12             18.      Defendant's termination of plaintiff, and/or other

  13     adverse job action(s), violated said policy(ies)            of the State of

  14     California.

  15                                   THIRD CAUSE OF ACTION

  16                             Viol. of Cal. Labor Code§
                                                     Code § 1102.5
  17                                  Against All Defendants

  18             19.      Paragraphs 1-18 are incorporated.

  19             20.      Defendants policies/practices and conduct in

  20     terminating and retaliating against plaintiff for opposing

  21     defendants' misconduct and/or seeking to exercise rights as
         defendants'

  22     alleged violated Cal. Labor Code§
                                     Code § 1102.5.
  23                                  FOURTH CAUSE OF ACTION

  24                      Intentional Infliction of Emotional Distress

  25                                  Against All Defendants

  26             21.      Paragraphs 1-20 are incorporated.

  27             22.      Defendant was aware that treating plaintiff in the

  28    manner alleged above, including depriving plaintiff of
                                                8
                                            COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 10 of 11 Page ID #:22



    1    livelihood due to injury, would devastate plaintiff and cause

    2   plaintiff extreme hardship.
    3            23.      Defendant's conduct, as described above, was extreme

    4    and outrageous and was done with the intent of, and effect of,

    5    causing plaintiff to suffer emotional distress.

    6                                   FIFTH CAUSE OF ACTION

    7                         Negligent Infliction of Emotional Distress
    8                                   Against All Defendants

    9            24.      Paragraphs 1-23 are incorporated.

   10            25.      In the alternative, defendant's conduct, as alleged

   11    above, was done in a careless or negligent manner, without

   12    consideration for the effect of such conduct upon plaintiff's

   13    emotional well-being.

   14

   15                                            PRAYER

   16            WHEREFORE, plaintiff prays for judgment as follows:
                                                            follows:

   17            11..   For compensatory economic and non-economic damages in

   18    an amount to be proven at trial;
                                   trial;

   19            2.•
                 2      For punitive damages, according to proof;
                                                           proof;

   20            3..
                 3      For prejudgment interest;
                                        interest;
   21            44..   For injunctive relief against defendants;

   22            5..
                 5      For costs of suit, including attorneys' fees;

   23            66..   For such other relief the Court deems proper.

   24    February 12, 2021                       ROSS &
                                                      & MORRISON

   25
                                           By:    /s/ Andrew D. Morrison
   26                                            Gary B. Ross
                                                 Andrew D. Morrison
   27                                            Attorneys for Plaintiff

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                                                   9
                                              COMPLAINT
        complaint FINAL.wpd
Case 2:21-cv-02667-JFW-JC Document 1-1 Filed 03/26/21 Page 11 of 11 Page ID #:23



    1                             DEMAND FOR JURY TRIAL

    2            Plaintiff hereby demands a trial by jury in this action.

    3    February 12, 2021                 ROSS &
                                                & MORRISON
    4
                                     By:    /s/ Andrew D. Morrison
    5                                      Gary B. Ross
                                           Andrew D. Morrison
    6                                      Attorneys for Plaintiff

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                                        COMPLAINT
        complaint FINAL.wpd
